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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSHUA FREEDMAN, : Civil No. 1:22-ev-0298
Plaintiff,
V.
FEDERAL ELECTIONS
COMMISSION,
Defendant. Judge Sylvia H. Rambo
ORDER

AND NOW, this 18" day of May, 2022, upon consideration of the magistrate
judge’s Report and Recommendation (Doc. 6), to which no objections have been
timely filed, and the court having satisfied itself that there is no clear error on the
face of the record, Fed. R. Civ. P. 72(b), advisory committee notes; see also Univac
Dental Co. v. Dentsply Intern., Inc., 702 F. Supp. 2d 465, 469 (M.D. Pa. 2010)
(explaining that judges should review dispositive legal issues raised by the report for
clear error), IT IS HEREBY ORDERED as follows:

1) The Report and Recommendation is ADOPTED in part;

2) Plaintiff's complaint is DISMISSED without prejudice to file this case is
another judicial district; and

3) The Clerk of Court is DIRECTED to close this case.

s/Sylvia H. Rambo
United States District Judge

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

JOSHUA FREEDMAN, ) CIVIL ACTION NO. 1:22-CV-0298
Plaintiff )
)
V. )

) (ARBUCKLE, M.J.)

FEDERAL ELECTIONS )
COMMISSION, )
Defendant )

ORDER

Upon consideration of pro se Plaintiff's Complaint (Doc. 1), accompanied by
an Application for Leave to Proceed Jn Forma Pauperis (Doc. 2), IT IS HEREBY

ORDERED that:

1. Plaintiff's Application for Leave to Proceed Jn Forma Pauperis (Doc.
2) is GRANTED.

2. The Complaint (Doc. 1) is DEEMED filed.

3. Pursuant to 28 U.S.C. § 1915(e)(2), the Court shall conduct a
preliminary review of the plaintiffs complaint.

Date: April 18, 2022 BY THE COURT

s/William I. Arbuckle
William I. Arbuckle
U.S. Magistrate Judge

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FEDERAL ELECTION COMMISSION
Washington, DC 20463

February 2, 2022

CERTIFIED MAIL

RETURN RECEIPT REQUESTED
AND ELECTRONIC MAIL
freedman.joshua@gmail.com

Joshua Freedman
49 Sample Bridge Rd.
Mechanicsburg, PA 17050
RE: MUR 7811
Reddit, Inc.
Dear Mr. Freedman:

On January 25, 2022, the Federal Election Commission reviewed the allegations in your
complaint received on October 5, 2020, and found that on the basis of the information provided
in your complaint there is no reason to believe that Reddit, Inc. violated 52 U.S.C. § 30118(a)
and 11 C.F.R. § 114.2(b) by making prohibited in-kind corporate contributions. Accordingly,
the Commission closed the file in this matter.

Documents related to the case will be placed on the public record within 30 days.
See Disclosure of Certain Documents in Enforcement and Other Matters, 81 Fed. Reg. 50,702
(Aug. 2, 2016). The Factual and Legal Analysis, which more fully explains the Commission’s
finding, is enclosed for your information.

The Federal Election Campaign Act of 1971, as amended, allows a complainant to seek
judicial review of the Commission’s dismissal of this action. See 52 U.S.C. § 30109(a)(8).

If you have any questions, please contact Christine C. Gallagher, the attorney assigned to
this matter, at (202) 694-1650.
Sincerely,

Lisa J. Stevenson
Acting General Counsel

Ana). Pena Usaelbace
BY: Ana J. Pefia- Wallace
Acting Assistant General Counsel

Enclosure
Factual and Legal Analysis
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FEDERAL ELECTION COMMISSION
FACTUAL AND LEGAL ANALYSIS

RESPONDENT: Reddit, Inc. MUR: 7811

I. INTRODUCTION

This matter was generated by a Complaint filed with the Federal Election Commission by
Joshua Freedman alleging that Reddit, Inc. (“Reddit”), a social news website, violated the
Federal Election Campaign Act of 1971, as amended (the “Act”), by making prohibited in-kind
corporate corporations to unspecified federal candidates and political committees by removing
opposing content. The Complainant points to his own temporary ban for a comment relating to
the Black Lives Matter movement and the permanent ban received by a Reddit group comprised
of supporters of former President Donald J. Trump, then a 2020 presidential candidate. In
addition, the Complaint appears to allege that unspecified candidates and committees are paying
Reddit to manipulate content. Reddit did not respond to the Complaint.

As discussed below, the allegations in the Complaint are vague, speculative, and do not
appear to specify facts that reasonably suggest Reddit engaged in any activities for the purpose
of influencing a federal election or coordinated with any candidate or committee. Therefore, the
Commission finds that there is no reason to believe that Reddit violated 52 U.S.C. § 30118(a)
and 11 C.F.R. § 114.2(b) by making prohibited in-kind corporate contributions.

I. FACTUAL BACKGROUND

Reddit is a social news website where registered users share content by posting stories,
links, images, and videos to user-created communities (known as “subreddits”) organized by

interest.! According to Reddit’s homepage, it provides a feature whereby users can comment on

I Homepage, Redditinc.com, https://www.redditinc.com (last visited Mar. 2, 2021).

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each other’s posts, and “upvote” or “downvote” posts and comments so that the most interesting
content rises to the top of each subreddit and the main Reddit homepage.” Reddit describes itself
as the “front page of the internet.”

Complainant is a Reddit user under the pseudonym “u/TheUlItimateSalesman.”* On
September 4, 2020, he commented on another user’s post in the “r/Conspiracy” subreddit.> The
original post, dated September 3, 2020, was titled: “This guy may have found the Portland
rioter’s base of operations.”° It contained a link to a YouTube video claiming to show a vacant
lot with tents belonging to Black Lives Matter protestors.’ Complainant’s comment stated that,
according to property tax records,® the lot in question is owned by PDC d/b/a Prosper Portland,
and that Prosper Portland, in turn, supports Black Lives Matter.? The comment included the
address of the property owner and a link to the property tax record.!° On September 5, 2020,

Reddit suspended Complainant “for posting or threatening to post personal information,” and

sent him a message describing the basis for his suspension and a link to Reddit’s Content

2 Id.

3 Reddit, Inc., http://www.reddit.com (last visited Apr. 13, 2021). Reddit incorporated on May 13, 2011, in
Delaware. Delaware Dep’t of State: Division of Corporations, File number 4982247 (https://icis.corp.delaware.gov/
Ecorp/EntitySearch/NameSearch.aspx) (last visited Apr. 16, 2021).

4 Compl. at 1 (Oct. 5, 2020).

5 Id.; id., Attach. at 8-9 (u/TheUltimateSalesman Sept. 4, 2020 comment).

6 Compl. at 1; id, Attach. at 9 (screenshot of Sept. 3, 2020 post).

7 NeverAloneWithCHIRST, The City of Portland Houses #RoseCityAntifa (#Trumpetman) — Portland's

#CHAZ/#CHOP??: 39 #heydan, YOUTUBE (https://www.youtube.com/watch?v=UE_ 3LDvWcbY) (Aug. 31, 2020).
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Compl., Attach. at 2-3 (screenshot of Multnomah County Oregon Property Records search results, Property
ID R673495 (accessed Sept. 3, 2020)).

° Id. at 4-5 (screenshot of www.prosperportland.us homepage showing a Black Lives Matter banner

(accessed Sept. 3, 2020)); id. at 8 (screenshot of u/TheUltimateSalesman Sept. 4, 2020 comment, claiming that “the
lot is owned by black lives matter[]” and that the Prosper Portland website “is BLM”).

10 Td. at 8-9 (u/TheUltimateSalesman Sept. 4, 2020 comment).
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Policy.!! Reddit Content Policy Rule 3 states that: “Instigating harassment, for example by
revealing someone’s personal or confidential information is not allowed.”'? Complainant
appealed, and Reddit restored his account later the same day.!? Still, Complainant alleges that
the offending comment remains “‘shadow deleted” (7.e., Complainant can see the post but it
shows as deleted when viewed by other users). !*

In addition, the Complaint cites to a June 29, 2020, NPR article reporting that Reddit
banned a subreddit titled “r/The_Donald,” frequented by supporters of then-President Donald
Trump, for violating its rules of conduct concerning harassment, hate speech, and content
manipulation.!> The article states that r/The_Donald had nearly 800,000 users and describes the
subreddit as “a forum dedicated to President Trump’s most ardent fans.”'® The Complaint does
not submit or describe any specific information regarding activity on the r/The_Donald subreddit
or the circumstances that led to its ban. Reddit’s official announcement states that it banned
t/The_Donald because it “has consistently hosted and upvoted more rule-breaking content than
average (Rule 1), antagonized us and other communities (Rules 2 and 8), and its [moderators]

have refused to meet our most basic expectations,” and the announcement contends that Reddit

M Compl. at 1; id, Attach. at 6 (screenshot of automated message from Reddit to u/TheUltimateSalesman,

stating that “Your account has been permanently suspended from Reddit,” sent on Sept. 5, 2020).

12 Reddit, Inc., Content Policy Rules, (https://www.redditinc.com/policies/content-policy) (last viewed Apr.

20, 2021) [hereinafter Reddit Content Policy].

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Compl. at 1; id, Attach. at 7 (screenshot of automated message from Reddit to u/TheUltimateSalesman,
“We have reviewed your request and have lifted your suspension,” sent on Sept. 5, 2020).

\4 Compl. at 1.

1s Bobby Allyn, Reddit Bans The_Donald, Forum of Nearly 800,000 Trump Fans, Over Abusive Posts, NPR
(https://www.npr.ore/2020/06/29/8848 19923/reddit-bans-the_donald-forum-of-nearly-800-000-trump-fans-over-
abusive-posts) (June 29, 2020).

16 Ida.

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“worked in good faith to help [r/The_Donald] preserve the community as a space for its users—
through warnings, [moderator] changes, quarantining, and more.”!”

Based on these facts, the Complaint alleges that “the removal of negative comments,
users, and coordinated groups, and silencing of users’ voices about a candidate or issue, by a
campaign, PAC, or their agent is tantamount to a non-disclosed donation and surely a violation
of campaign finance disclosure laws.”'* It therefore appears that the Complaint is arguing that
Reddit made prohibited in-kind corporate contributions to unidentified candidates and political
committees by removing or suppressing opposing content.

The Complaint makes a related allegation that unspecified candidates and committees are
paying Reddit to engage in activities such as arbitrary enforcement of the Reddit Content Policy,

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deleting users, “shadowbanning”’” users and comments, and “manipulation of posts and

comments.”*° The Complaint argues that Reddit should “disclose the non-publishing or
manipulation of messages that were paid for.””!

The only alleged example submitted by the Complaint relates to Correct the Record, a

pro-Hillary Clinton political committee, which the Complaint asserts “in the 2016 election cycle

7 Reddit, Inc., Announcements, (https://www.reddit.com/r/announcements/comments/hi3oht/update_to_our

content_policy/) (June 29, 2020). Reddit Content Policy Rule 1 states that: “Communities and users that incite
violence or that promote hate based on identity or vulnerability will be banned.” Rule 2 prohibits “content
manipulation (including spamming, vote manipulation, ban evasion, or subscriber fraud)” and activities that
“otherwise interfere with or disrupt Reddit communities.” Rule 8 prohibits “anything that interferes with normal use
of Reddit.” Reddit Content Policy.

18 Compl. at 2.

19 The Complaint uses the terms “shadowbanning” and “shadow deleting” interchangeably to mean a user’s
comments or posts remain visible to the user, but are deleted in the public view. See, e.g., Compl. at 1, 2.

20 Id. at 2 (“I suspect that Reddit Inc. or its associated ownership is monetizing on behalf of campaign, PACs
and associated, coordinated groups.”). 1

21 Id. at 3.
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had a very strong and manipulative presence on Reddit.””* However, the Complaint only cites to
an allegedly leaked Correct the Record strategy document, posted with little description, on an
anti-Clinton themed subreddit titled r/HillaryforPresident.?? There is no information from the
allegedly leaked document or otherwise that Correct the Record engaged in such activities or that
it would have involved Reddit. The document discussed internet content strategies in general,
not specific to Reddit, and, in fact, the document did not mention Reddit.

HI. LEGAL ANALYSIS

A. Relevant Law

The Act prohibits corporations from making contributions to federal candidates, and
likewise bars candidates, political committees (other than independent expenditure-only political
committees and committees with hybrid accounts), and other persons, from knowingly accepting
or receiving corporate contributions.”

Under the Act, a “contribution” includes “any gift, subscription, loan, advance, or deposit
of money or anything of value made by any person for the purpose of influencing any election
for Federal office.*°> The term “anything of value” includes “all in-kind contributions.””° In-

kind contributions include “coordinated expenditures,” that is, expenditures “made by any person

in cooperation, consultation or in concert, with, or at the request or suggestion of, a candidate,

22 Id.
23 The Complaint cites to a post titled “Correct The Record’s manipulative strategies LEAKED,” apparently
claiming to publish a Correct the Record strategy document enumerating “several techniques for the control and
manipulation of [an] internet forum no matter what, or who is on it.” Compl., Attach. at 1 (“[Influence Guide]
Techniques for dilution, misdirection and control of a [sic] internet forum”).

24 52 U.S.C. § 30118(a); accord 11 C.F.R. § 114.2(a), (d).
25 52 U.S.C. § 30101(8)(A); accord 11 C.F.R. § 100.52.
26 11 C.F.R. § 100.52(d).
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his [or her] authorized committees, or their agents.”?” Under Commission regulations, a
communication is coordinated and thus treated as an in-kind contribution when it is: (1) paid for
by a third-party; (2) satisfies one of five content standards; and (3) satisfies one of five conduct
standards.*® In-kind contributions also include “provision of any goods or services without
charge or at a charge that is less than the usual and normal charge for such goods or services.””?

The Commission has concluded that a commercial vendor providing services to political
committees will not make a contribution for the purpose of influencing an election when its
business activity “reflects commercial considerations and does not reflect considerations outside
of a business relationship.”°° A commercial vendor need not make its services available to
committees representing all political ideologies, but rather may establish objective business
criteria to protect commercial viability of its business without making contributions to the
committees that meet those criteria.*!

The Commission has long considered activity engaged in for bona fide commercial

reasons not to be “for the purpose of influencing an election,” and thus, not a contribution or

27 52 U.S.C. § 30116(a)(7)(B); 11 CE.R. § 109.20.

28 11 CFR. § 109.21(a).

29 Id. § 100.52(d) (listing examples of goods or services, such as securities, facilities, equipment, supplies,

personnel, advertising services, membership lists, and mailing lists).

30 Advisory Op. 2012-31 (AT&T) at 4.

31 Advisory Op. 2004-06 (Meetup) at 1 (explaining that a corporation may provide goods and services to

political committees without being considered to have made an in-kind contribution so long as it does so “on the
same terms and conditions available to all similarly situated persons in the general public”); Advisory Op. 2012-26
(Cooper for Congress, et al.) at 10 (concluding that no contribution to committee resulted where its participation in a
text message fundraising program was subject to “objective and commercially reasonable” criteria).
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expenditure under section 30118(a).*” This is true even if a candidate benefitted from the

commercial activity.*?

B. The Commission Finds No Reason to Believe That Reddit Made Prohibited
In-Kind Corporate Contributions

The Complaint alleges that Reddit made prohibited in-kind corporate contributions to
unspecified candidates and committees by removing opposing content.** Yet, the Complaint’s
allegations are vague and speculative, and Reddit’s policies suggest a more likely, non-political
explanation of its actions. The actions taken by Reddit appear to reflect reasonable commercial
considerations, as explained in Reddit’s Content Policy rules, rather than an effort to influence a
federal election. Reddit states that its platform “can only exist if we operate by a shared set of
rules,” and “everyone on Reddit should have an expectation of privacy and safety.”*> In light of

this apparent commercial, rather than electoral, purpose and considering the lack of any

32 See, e.g., Factual & Legal Analysis at 4, MUR 6586 (World Wrestling Entertainment, Inc.) (finding that the
WWE acted with the “sole intent to defend its business reputation” and not for the purpose of influencing an election
when the WWE’s senior vice president sent a letter to a newspaper seeking a retraction of a negative article about
Senate candidate Linda McMahon, who owned and served as CEO of the WWE); First Gen. Counsel’s Rpt. at 13,
MUR 5474 (Dog Eat Dog Films, e¢ al.) (determining that distributors and marketers of Fahrenheit 9/11 film did so
“in connection with bona fide commercial activity and not for the purpose of influencing an election”) (Commission
voted to approve no reason to believe recommendations); Advisory Op. 2012-11 (Microsoft Corp.) (concluding that
commercially reasonable efforts “to protect [Microsoft’s] brand reputation” by providing election-sensitive
customers with free account security services are not an in-kind contribution).

33 See First Gen. Counsel’s Rpt. at 16, MUR 3622 (The Clinton/Gore ‘92 Committee) (“{T]he fact that any of
these candidates ... may have received an indirect benefit (dissemination of their political positions) as a result of
the sale of these tapes does not convert commercial activity into a corporate contribution.”) (Commission voted to
approve no reason to believe recommendation); Factual & Legal Analysis at 6, MUR 7024 (Van Hollen for Senate,
et al.) (opining that the “question under the Act is whether the legal services were provided for the purpose of
influencing a federal election, not whether they provided a benefit to Van Hollen’s campaign,” and concluding there
was no contribution given the “absence of any objective or subjective indication” respondents acted for the purpose
of influencing the election).

34 Compl. at 2 (“I posit that the removal of negative comments, users, and coordinated groups, and silencing

of users’ voices about a candidate or issue, by a campaign, PAC, or their agent is tantamount to a non-disclosed,
donation and surely a violation of campaign finance disclosure laws.”).

35 Reddit Content Policy.
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information to suggest that Reddit coordinated with any candidate or committee, the
Commission finds no reason to believe that Reddit’s actions constituted in-kind contributions.

Complainant describes an instance where Reddit banned and then reinstated him for a
comment he made on the r/Conspiracy subreddit, and alleges that Reddit also “shadow deleted”
the comment. But Complainant presents no information to reasonably suggest that Reddit’s
actions against him were related to an election or coordinated with any candidate or committee.
Indeed, the comment did not mention of any candidate, campaign, or electoral content. Reddit’s
stated reason for issuing the ban was because Complainant posted personal information in
violation of its content policy rules.*° In any event, Reddit promptly reversed its decision.>”
Complainant nonetheless argues that his comment remains shadow deleted.** But, even if true,
there is no indication that such action by Reddit was made for the purpose of influencing a
federal election or coordinated with any candidate or committee.

In addition, the Complaint cites to a news article reporting that Reddit permanently
banned r/The_Donald, a community comprised of President Trump supporters, for violating its
content policy rules concerning harassment, hate speech, and content manipulation.” Reddit’s
public explanation of its actions states that it banned r/The_Donald because it violated three
specific rules of its content policy, and also noted that the subreddit “consistently hosted and

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upvoted more rule-breaking content than average,” “antagonized us and other communities,” and

36 Compl. at 1; id, Attach. at 6 (screenshot of automated message from Reddit to u/TheUltimateSalesman,

explaining that he was “suspended from Reddit for posting or threatening to post personal information’).
37 Compl. at 1; id, Attach. at 7 (screenshot of automated message from Reddit to u/TheUltimateSalesman,
stating that administrators “have received your request and have lifted your suspension”).

38 Compl. at 1.

39 Id. at 3 (citing Allyn, NPR, June 29, 2020).
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“refused to meet our most basic expectations.”*° Reddit contends that, prior to the ban, it
“worked in good faith” to resolve the problems on the subreddit.*! Accordingly, neither the
Complaint nor other available information indicate that Reddit’s application of its content policy
rules in this instance, was motivated by something other than a commercial interest.

Finally, the Complaint relatedly alleges that unspecified candidates and committees paid

Reddit to suppress opposing content.”

However, the Complaint does not provide any particular
information to directly support its claims. The Complaint merely “suspect[s] that Reddit or its
associated ownership is monetizing on behalf of campaigns PACs and associated, coordinated
groups.”*? The only information cited by the Complaint is an allegedly leaked Correct the
Record strategy document that does not discuss or mention any activities involving Reddit.** In
sum, the allegation that unspecified candidates and committees are paying Reddit to suppress or
manipulate opposing content is not supported by the available information.*? Moreover, it is

unclear what, if any, violation, would result from the alleged conduct.*°

40 Reddit, Inc., Announcements,

(https://www.reddit.com/r/announcements/comments/hi3oht/update_to_our_content_policy/) (last viewed Apr. 20,
2021).

41 Id.
“2 Compl. at 2-3.
8 Id. at 2.

“4 Compl., Attach. at 1 (“[Influence Guide] Techniques for dilution, misdirection and control of a [sic]

internet forum”).

45 Statement of Reasons, Comm’rs Mason, Sandstrom, Smith, & Thomas at 1, MUR 4960 (Clinton for U.S.
Exploratory Committee) (“The Commission may find ‘reason to believe’ only if a complaint sets forth sufficient
specific facts, which, if proven true, would constitute a violation of the [Act].”).

46 The Complaint vaguely asserts that Reddit failed to “disclose what group is paying for the message” and

“disclose the non-publishing or manipulation of messages that were paid for,” but does not point to any specific
provision of the Act or Commission regulations. Compl. at 3. To the extent that the Complaint is suggesting that
alleged disbursements from political committees to Reddit should have been disclosed to the Commission or that
communications on Reddit purchased by political committees should have contained disclaimers, those reporting
and disclaimer obligations extend to the committees, not the vendor. See 52 U.S.C. §§ 30104(a),(b), 30120(a);

11 C.F.R. §§ 104.1, 104.3, 110.11; see also Factual & Legal Analysis at 9, MUR 5158 (Brady Campaign to Prevent
Gun Violence) (“[C]ommittees, not vendors, are responsible for ensuring that proper disclaimers appear on

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In conclusion, the available information does not reasonably suggest Reddit engaged in
any activities for the purpose of influencing a federal election or coordinated with any candidate
or committee. Therefore, the Commission finds that there is no reason to believe that Reddit,
Inc. violated 52 U.S.C. § 30118(a) and 11 C.F.R. § 114.2(b) by making prohibited in-kind

corporate contributions.

communications.” (citing MUR 4759 (Maloof); MUR 4741 (Mary Bono Committee); MUR 3682 (Fox for
Congress Committee)). In addition, persons who spend above the threshold amounts on independent expenditures
or electioneering communications must file reports with the Commission. See 52 U.S.C. § 30104(c), (f); 11 C.F.R.
§§ 104.20, 109.10. Reddit is not required to file any reports as it is not a political committee and the Complaint does
not describe any activity by Reddit that would constitute an electioneering communication or independent
expenditure. See 52 U.S.C. §§ 30101(17) (definition of “independent expenditure”), 30104(f)(3)(A) (definition of
“electioneering communication”); Advisory Op. 2019-18 (IDF International Technologies, Inc.) at 4 (concluding
that online political forum not required to file reports of its spending because it is not a political committee and its
advertisements do not constitute electioneering communications or independent expenditures).

The Complaint also alleges that: “Reddit Inc. may be receiving money from the USGovernment in return
for manipulation. This may make Reddit.com a public forum.” Compl. at 3. At the outset, it is unclear whether the
Complaint is alleging a violation of the Act. In any event, there is no factual support for this allegation. Moreover,
under 52 U.S.C. § 30101(11) and 11 C.F.R. § 100.10, the United States government is excluded from the definition
of “person” and therefore exempt from the definition of contribution. See 52 U.S.C. § 30101(8) (defining
contribution, in relevant part, as “anything of value made by any person for the purpose of influencing any election
for Federal office) (emphasis added); 11 C.F.R. § 100.52 (same).
